Case 04-03774 Doc61i Filed 09/15/06 Entered 09/18/06 08:38:10 Desc Main
Document Page1of6

IN THE UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF TLLINOIS, EASTERN DIVISION

)
VICKI ESRALEW }
)
Debtor, )
)
)
ROLLIN SOSKIN, et. al. )
)
Plaintiffs ) No, 04 A 3774
)
v. ) Judge Goldgar
)
VICKT ESRALEW )
)
Defendant )
KFithHED
UNITED STATES BANKRUPTCY COURT
OT OTION NORTHERN OISTRICT OF ILLINOIS
SEP 4 @ 2006
TO: Thomas Crooks
Three First National Plaza KENNETH $, GARDNER, GLERK
70 W. Washington PS REP. -RO
Suite 1950
Chicago, IL. 60602
(Fax: 312-641-5220)
On 4 aol, _ at9:30 a, m., oras soon thereafter as counsel may be heard,

] shall appear before the Hon. Judge A. Benjamin Goldgar or any judge sitting in his stead, in the
courtroom usually assigned to him, Room 613, ait 219 South Dearborn, Chicago, Minors 60604, and
present then and there Defendant’s Motion to Contitfpe Trial Date, a copy of which is herewith
served upon you.

One of her ormeys
ASHMAN & STEIN

150 North Wacker Drive

Suite 3000

Chicago, Illinois 606060

(312) 782-3484
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Document Page 2 of 6

R OF SERVICE

The undersigned certities that he served a copy of this Notice to the aforesaid person(s)
by fax and at the aforesaid address by First Class mail, by depositing the same in the U.S. Mail at
l coe Wacker Drive, Chicago, [Hinois 60606 before $-00 p.m. on the 15th day of September,
2006,

Thomas Crooks

Three First National Plaza
70 W. Washington

Suite 1950

Chicago, T1,. 60602

(Fax: 312-641-5220)

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Document Page 3 of 6

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VICKI ESRALEW )
)
Defendant )

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NOW COMES the Defendant, VICK] ESRALEW, by her undersigned counsel, and
in support of her Motion to Continue the Trial Date in this matter, states as follows:

I. On Augusi 23, 2006, this Court denied Defendant’s motion for summary
judgment and contemporaneously enter a Pretrial Order setling this matter for trial on
December 11, 2006. Said Order also sets forth the dates for submission of all related exhibits,
witness list, stipulations and the like.

2. Coincident with the dismissal of her motion for summary judgment, as
aforesaid, irreconcilable differences arose among Defendant and her counsel at the time
concerning the defense of the Adversary Complaint before the Court; and it was not possible that
Defendant and said counsel could reconcile their differences. Among other things, Defendant
has discovered that certain conduct on the part of Defendant’s said counsel! such as, for example,

said counsel's failure to respond to Plaintiff's Loca] Rule 7056-2 Statement, was an element in
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Case 04-03774 Doc61i Filed 09/15/06 Entered 09/18/06 08:38:10 Desc Main
Document Page 4of6

the subsequent denial of her aforesaid motion for summary judgment.

3. As aresult of such differences, on August 24, 2006, and at the instance of
Defendant, Defendant’s counsel withdrew from Defendant’s representation herein and
Defendant thereafter retained substitute counsel. Said substitute counsel is contemporaneously
moving for leave to file his Appearance herein.

4, Although Defendant’s former counsel’s motion to withdraw was granted on
August 30, 2006, it was not until the late afternoon of September 13, 2006, that her files were
delivered to Defendant’s new counsel.

5. Said files arc contained in four (4) bankers boxes and are completely
disorganized, Indeed, it will take weeks to simply put the documents and other papers therein
into any semblance of order which would permit Defendant’s said counsel to make the
necessary determinations as to whether any are material to any of the issues in this case.

6. Pursuant to the Pretria! Order, all exhibits and exhibit lists must be filed at
least twenty-one days prior to trial, a virtually impossible task to perform competently given
the state of the file delivered to the undersigned counsel and said counsel’s other
responsibilities during the upcoming quarter.

7, Defendant's new counsel is presently handling 4 number of other litigated
matlers requining his attention, including those pending both in the U.S. District Court for the
Norther Distnct of Hlinois and in the State courts. For example, said counsel has a five (5)
day trial scheduled before Judge Holdenman in a case entitled Ryl Kuchar v. Care Centers,
Inc., 05 C 3223, beginning on October 13, 2006, bul which is likely to be somewhat delayed
depending on Judge Holderman’s respective rulings on cross motions for summary judgment

therein; said counsel also has a five (5) day trial scheduled in the Circuit Court of the Twelfth

Case 04-03774 Doc61i Filed 09/15/06 Entered 09/18/06 08:38:10 Desc Main
Document Page 5of6

Judicial Circuit (Will County, Illinois) entitled Bailey v. Sunay Hill Rehab Center, No. 03 1.
371, scheduled to begin on December 11, 2006 (the satne day the trial in the instant case is
set to begin); and said counsel also has a trial in the Circuit Court of the Twentieth Judicial
Circuit (St. Clair County , Tlinois) entitled Helget Gas Products, inc. v Willow Creek
Rehabilitation & Nursing Center, LLC, et. al, No. 04 L 608, scheduled to begin on January 8,
2007.

8. Accordingly, Defendant requests that the scheduled tial date herein be
continued for ninety (90) days and that this cause be resct for trial at any time on or after March
11, 2007,

9, This motion is not brought for delay or for any other improper purpose,
Plaintiff does not scck to extend any other dates set by the Court herein, and no party will be
prejudiced by the granting of this motion. In addition, prior to filing this motion, Defendant’s
counsel first consulted with Plaintiffs’ counsel to determine whether said counsel had any
objection to the relief being sought herein. Plaintiffs’ counsel had no objection, but deferred
to his chents’ wishes.

WHEREFORE, Defendant respectfully prays this Honorable Court for the entry of an
Order continuing the trial date of December | 1, 2006, and re-setting this cause for trial ona

dale certain on or afler March 11, 2007.

Case 04-03774 Doc61i Filed 09/15/06 Entered 09/18/06 08:38:10 Desc Main
Document Page 6 of 6

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